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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,                                 NOTICE OF RENEWED MOTION
                                                           TO WITHDRAW APPEARANCE
                                   Plaintiffs,
               v.
THE TRUMP CORPORATION, DONALD J.
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,
                                                          No. 18 Civ. 9936
                                 Defendants.




          NOTICE OF RENEWED MOTION TO WITHDRAW APPEARANCE

       PLEASE TAKE NOTICE that, upon the accompanying declarations of Roberta A. Kaplan

dated October 16, 2019, and Joshua Matz, dated October 15, 2019, and pursuant to Local Civil

Rule 1.4, Plaintiffs respectfully renew their request for the withdrawal of the appearance of Joshua

Matz as counsel on their behalf. Plaintiffs further request, pursuant to Section 2.5 of the Electronic

Case Filing Rules and Instructions, that the email address jmatz@kaplanhecker.com be removed

from the ECF service notification list for this case.

       Plaintiffs shall continue to be represented by remaining counsel of record from Kaplan

Hecker & Fink LLP and Emery Celli Brinckerhoff & Abady, LLP.

Dated: October 16, 2019                                 Respectfully submitted,

                                                        /s/ Roberta A. Kaplan
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,                              DECLARATION IN SUPPORT
                                                        OF RENEWED MOTION TO
                                 Plaintiffs,            WITHDRAW
             v.
THE TRUMP CORPORATION, DONALD J.
TRUMP, in his personal capacity,                        No. 18 Civ. 9936
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,
                              Defendants.




      DECLARATION IN SUPPORT OF RENEWED MOTION TO WITHDRAW

      I, Roberta A. Kaplan, declare and state as follows:

      1. I am the founding partner of Kaplan Hecker & Fink LLP and lead counsel for Plaintiffs

          in the above-captioned action.

      2. I submit this declaration in support of the renewed motion for Joshua Matz to withdraw

          his individual appearance as counsel for Plaintiffs.

      3. On October 29, 2018, Mr. Matz, who was then associated with Kaplan Hecker &

          Fink LLP, filed a Notice of Appearance (Doc. No. 6) on behalf of all Plaintiffs in the

          above-captioned action.

      4. As of yesterday, October 15, 2019, however, Mr. Matz is no longer affiliated with

          Kaplan Hecker & Fink LLP.
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      5. Plaintiffs shall continue to be represented by me and their remaining counsel of record

         from Kaplan Hecker & Fink LLP and Emery Celli Brinckerhoff & Abady LLP. Joshua

         Matz’s withdrawal will not affect this action in any way, including the posture of the

         case and the calendar; nor will it prejudice Defendants.

      6. Neither Mr. Matz nor either of the firms acting as counsel for Plaintiffs in the above-

         captioned action is asserting a retaining or charging lien against Plaintiffs.

      7. For the reasons set forth herein, in addition to those set forth in Joshua Matz’s

         declaration dated October 15, 2019, which is attached as Exhibit 1 hereto, I respectfully

         request the Court grant the motion for Mr. Matz to withdraw his individual appearance

         as counsel for Plaintiffs.

      8. I am causing this motion, including all of the papers submitted with the motion, to be

         served on the parties and the clients of Kaplan Hecker & Fink LLP and Emery Celli

         Brinckerhoff & Abady LLP in this action.



Dated: October 16, 2019
       New York, New York
                                                    /s/ Roberta A. Kaplan
                                                    Roberta A. Kaplan
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            EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,                               DECLARATION IN SUPPORT OF
                                                         NOTICE OF WITHDRAWAL
                                Plaintiffs,
             v.
THE TRUMP CORPORATION, DONALD J.                         No. 18 Civ. 9936
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,
                              Defendants.



           DECLARATION IN SUPPORT OF NOTICE OF WITHDRAWAL

      I, Joshua Matz, declare and state as follows:

      1. On October 29, 2018 I filed a Notice of Appearance (ECF 6) on behalf of all Plaintiffs

          in the above referenced action.

      2. As of today, October 15, 2019, I am no longer affiliated with Kaplan Hecker &

          Fink LLP. Therefore, and pursuant to Local Civil Rule 1.4, I respectfully request the

          Court withdraw my individual appearance as counsel for Plaintiffs.

      3. Plaintiffs shall continue to be represented by remaining counsel of record from Kaplan

          Hecker & Fink LLP and Emery Celli Brinckerhoff & Abady, LLP. This withdrawal

          will not affect this action in any way, nor will this withdrawal prejudice Defendants.



Dated: October 15, 2019                               Respectfully submitted,

                                                      /s/ Joshua Matz
                                                      Joshua Matz
